    Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 1 of 10
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                        UNITED STATES DISTRICT COURT                             April 08, 2024
                         SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk

                              LAREDO DIVISION

 LAWRENCE W. SINCLAIR           §
                                §
 VS.                            §                  CIVIL ACTION NO. 5:23-CV-109
                                §
 BRIAN MARK KRASSENSTEIN et al. §

                   REPORT AND RECOMMENDATION OF
                 THE UNITED STATES MAGISTRATE JUDGE

      On March 5, 2024, United States District Judge Marina Garcia Marmolejo

referred this matter to the Undersigned for a report and recommendation on

Plaintiff’s domicile. (Dkt. No. 44). On March 25, 2024, an evidentiary hearing (“the

hearing”) was held before the Undersigned. (Min. Ent. on Mar. 25, 2024). Based on

the evidence and testimony put forth in the hearing, for diversity purposes the

Undersigned RECOMMENDS the Court find Plaintiff to be domiciled in Texas.

               I. BACKGROUND AND PROCEDURAL HISTORY

      On January 30, 2024, Defendants filed a motion to dismiss for lack of subject

matter jurisdiction, (Dkt. No. 20). In the motion, Defendants allege Plaintiff is

domiciled in Mexico, meaning there is no diversity of citizenship between the parties.

(Id. at 1). Plaintiff has opposed the motion, alleging he is a citizen and resident of

Texas. (Dkt. No. 22). Plaintiff filed his first response in opposition, (id.), on January

31, 2024, and subsequently filed several amended and supplemental responses. (See

Dkt. Nos. 26, 27, 32, 37, 40, 50, 52, 53).

      In Plaintiff’s first response in opposition, he attached an affidavit from Erik

Gamez (“Gamez”). (Dkt. No. 22-1). In the affidavit, Gamez states “I have allowed

                                             1
    Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 2 of 10




[Plaintiff] to reside in a building on the property of 1520 Sherman Street, Laredo,

Texas.” (Id. at 2). On March 12, 2024, the Undersigned subpoenaed Gamez to appear

at an evidentiary hearing on this matter. (Dkt. No. 48). Gamez was ordered to bring:

      Any and all documentation, photographs, or records of an agreement
      between [Plaintiff] and [Gamez] governing or demonstrating Plaintiff’s
      permanent residency at 1520 Sherman Street, Laredo, Texas 78040, to
      include any rental agreement and/or photographs of any habitable living
      space . . .

(Id.). On March 25, 2024, the hearing was held. (Min. Ent. on Mar. 25, 2024).

                               II. LEGAL STANDARD

      A district court's original jurisdiction is of two types: federal question

jurisdiction and diversity jurisdiction. 28 U.S.C. §§ 1331, 1332. Federal question

jurisdiction exists in all civil actions arising under the Constitution, laws, or treaties

of the United States. Id. § 1331. Diversity jurisdiction exists in all civil actions where

the amount in controversy exceeds $75,000.00, exclusive of interests and costs, and

there is diversity of citizenship between the parties. Id. § 1332(a). “Complete

diversity” of citizenship means that a plaintiff may not share citizenship with any

defendant. Whalen v. Carter, 954 F.2d 1087, 1094 (5th Cir. 1992). The citizenship of

an individual is synonymous with his domicile. Coury v. Prot, 85 F.3d 244, 249 (5th

Cir. 1996).

      Domicile is determined by a two-part test: (1) the residence of the party in a

state and (2) the intent of the party to remain there indefinitely. Coury, 85 F.3d at

250; E.g., Sun Packing, Inc. v. XenaCare Holdings, Inc., 924 F. Supp. 2d 749, 756

(S.D. Tex. 2012).



                                            2
    Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 3 of 10




       Residence in fact, and the intention of making the place of residence one's

home, are essential elements of domicile. Stine v. Moore, 213 F.2d 446, 448 (5th Cir.

1954). Words may be evidence of a man's intention to establish his domicile at a

particular place of residence, but they cannot supply the fact of his domicile there. Id.

In such circumstances, the actual fact of residence and a real intention of remaining

there, as disclosed by his entire course of conduct, are the controlling factors in

ascertaining his domicile. Id.

       The Fifth Circuit has identified several factors to consider in determining a

litigant's domicile. The factors may include the places where:

       (1) the litigant exercises civil and political rights, (2) pays taxes, (3) owns
       real and personal property, (4) has driver's and other licenses, (5)
       maintains bank accounts, (6) belongs to clubs and churches, (7) has
       places of business or employment, and (8) maintains a home for his
       family.

Coury, 85 F.3d at 251. The court should, when undertaking this examination, weigh

all factors equally; no single factor is determinative. Id.; E.g., Acridge v. Evangelical

Lutheran Good Samaritan Soc., 334 F.3d 444 (5th Cir. 2003). Additionally,

statements of intent, either to remain in a previous domicile or to establish a new

one, are “entitled to little weight” if they conflict with the objective facts. Acridge, 334

F.3d at 448.

       The ultimate burden on the issue of jurisdiction rests with the plaintiff or the

party invoking federal jurisdiction. Coury, 85 F.3d at 250. In making a jurisdictional

assessment, a federal court is not limited to the pleadings; it may look to any record

evidence, and may receive affidavits, deposition testimony or live testimony



                                             3
     Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 4 of 10




concerning the facts underlying the citizenship of the parties. Id. at 249. The time-

honored standard routinely applied to the fundamental question of citizenship is

proof by a preponderance of the evidence. Preston v. Tenet Healthsystem Mem'l Med.

Ctr., Inc., 485 F.3d 804 (5th Cir. 2007).

                                       III. ANALYSIS

       As an initial matter, Defendants request the Court take judicial notice of Webb

County Appraisal District records indicating 1520 Sherman Street, Laredo, Texas

78040 (“1520 Sherman Street”) is the site of a business, Champion Fine Meats. (Dkt.

No. 20 at 8–9). Defendants further request the Court take judicial notice of the fact

Plaintiff repeatedly represented himself as residing in Mexico through e-mail

correspondence, Florida state court filings, and social media posts. (Id. at 7). On

March 19, 2024, Defendants submitted supplemental briefing related to these

requests. (Dkt. No. 51). In their supplemental briefing, Defendants cite to Petrobas

Am., Inc. v. Samsung Heavy Indus. Co., Ltd., for support. 9 F.4th 247 (5th Cir. 2021).

(Id. at 2). However, Petrobas concerns Securities and Exchange Commission (SEC)

filings and is not on point. 1

       The Fifth Circuit has yet to address directly whether district courts may take

judicial notice of information from non-governmental websites. 2 As a result, because

Defendants seek judicial notice of information from X (twitter.com), facebook.com,



1 See Petrobas, 9 F.4th at 255 (citing to Lovelace v. Software Spectrum Inc., 78 F.3d 1015, 1018 (5th

Cir. 1996), for the proposition “that a district court deciding a motion to dismiss a securities fraud
action may take judicial notice of the contents of documents filed with the Securities Exchange
Commission”).
2 Coleman v. Dretke, 409 F.3d 665, 667 (5th Cir. 2005) (per curiam) (taking judicial notice of Texas

agency’s website); see also Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 457 (5th Cir. 2005).

                                                  4
     Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 5 of 10




amazon.com, and tuckercarlson.com, the Undersigned recommends the Court decline

to take judicial notice of information from these sources. (Dkt. No. 51 at 7). Still, the

Undersigned acknowledges the information as evidence within the Court’s purview

to consider in conducting the jurisdictional assessment and does so here.

       Regarding the Florida state court filings and Webb County Appraisal District

records, as matters of public record, the Undersigned recommends the Court take

judicial notice. 3 Plaintiff has acknowledged his e-mail correspondence with

Defendants, therefore their “accuracy cannot reasonably be questioned.” Fed. R. Evid.

201(b). Though it does not alter the disposition of this matter, the Undersigned

recommends the Court take judicial notice of the e-mail correspondence as well.

       A. The Hearing

       At the start of the hearing, Plaintiff presented the Court ten (10) exhibits, as

detailed in Plaintiff’s exhibit list, (Dkt. No. 54). Included in these exhibits are copies

of Plaintiff’s Texas driver’s license, Texas vehicle registration, and Texas voter

registration card. (Dkt. No. 54-5 at 3, 54-5 at 4, 54-6 at 3).

       According to Plaintiff’s testimony, when Plaintiff filed his complaint on

October 3, 2023, he resided “at 1520 Sherman Street, Laredo, Texas.” (Hrg. at

2:09:15). Plaintiff testified he relocated to Laredo, Texas, in November 2021 from

Cocoa, Florida. (Id. at 2:26:00–2:26:15). From November 2021 to October 2022

Plaintiff resided in hotels, motels and an apartment located at 1706 Guatemozin


3 Stiel v. Heritage Numismatic Auctions, Inc., 816 Fed. Appx. 888, 892 (5th Cir. 2020) (“We have
allowed a ‘district court to take judicial notice of the public records in . . . prior state court
proceedings’”); Swindol v. Aurora Flight Scis. Corp., 805 F.3d 516, 519 (5th Cir. 2015) (“the accuracy
of . . . public records contained on [governmental agency websites] cannot reasonably be questioned”).

                                                  5
    Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 6 of 10




Street, in Laredo, Texas. (Id. at 2:24:25–2:26:59). Facing financial strain, Plaintiff

began residing in a storage shed located on the 1520 Sherman Street property in

October 2022. (Id. at 2:22:20–2:23:49). The 1520 Sherman Street property is owned

by Plaintiff’s friend, Gamez. (Dkt. No. 22-1 at 2).

      When Plaintiff moved to 1520 Sherman Street he brought a bed, boxes,

clothing, a computer, a microwave, a printer and a shelving unit. (Hrg. at 2:31:14–

2:31:52). Plaintiff sleeps at 1520 Sherman Street five to six nights per week. (Id. at

2:31:53–2:32:02). Plaintiff eats, reads books, and watches television at 1520 Sherman

Street. (Id. at 2:32:03–2:33:03). At the time Plaintiff filed his complaint, Plaintiff

testified he planned to reside at 1520 Sherman Street “until I got either my disability

[benefits] back or I was able to find someone that would employ me with my

disabilities and my limitations—or until I die.” (Id. at 2:34:44–2:35:05).

      Responding to questions posed by the Defendants, Plaintiff testified to the

addresses listed in his e-mail signature and the Florida state court filings. (Id. at

2:38:05–2:40:29). Plaintiff testified he has never been to these addresses in Mexico.

(Id. at 2:39:26). Plaintiff further testified Tucker Carlson’s statement—“Larry

Sinclair is still alive. He lives in Mexico”—was part of Mr. Carlson’s introduction to

the interview segment. (Id. at 2:40:30–2:41:29). Plaintiff testified he was not present

when the introduction to the interview segment was filmed, therefore he could not

correct Mr. Carlson’s statement. (Id. at 2:40:30–2:41:29).

      The Court then called Gamez, the owner of Champion Fine Meats. (Id. at

2:45:10). Gamez provided the Court seven (7) photographs of 1520 Sherman Street,



                                           6
     Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 7 of 10




including Plaintiff’s room. (Dkt. No. 55). Per Gamez, Plaintiff is residing in a storage

shed located on the 1520 Sherman Street property, behind Champion Fine Meats.

(Hrg. at 2:49:30). Gamez and Plaintiff made an oral agreement that Plaintiff could

stay at 1520 Sherman Street. (Id. at 2:49:45). Gamez testified to the habitability of

the storage shed, stating he himself resided there for a year following a housefire at

his main residence. (Id. at 2:50:40–2:51:15). Gamez noted Plaintiff sleeps at 1520

Sherman Street four or five nights a week. (Id. at 2:51:25).

        Defendant’s questioning of Gamez focused on Plaintiff’s “Authorized Presence”

document, (Dkt. No. 52-3), filed the day before the hearing. (Hrg. at 2:53:30–3:03:33).

The document is signed by Gamez and purports to verify, for law enforcement

purposes, that Plaintiff is authorized to be on the 1520 Sherman Street property.

(Dkt. No. 52-3 at 2). Gamez’s testimony made clear that while the document is dated

“October 10, 2022,” Plaintiff asked Gamez to sign it three days before the hearing. 4

(Hrg. at 3:02:55).

        B. Plaintiff’s Domicile

        Regarding Plaintiff’s domicile, the evidence before the Court falls into two

categories. The first category consists of evidence from online and outside sources.

The second category includes evidence and testimony provided by Plaintiff which

demonstrate his actions. As stated above, the Fifth Circuit holds there is a difference




4At this time, the Undersigned does not find Plaintiff made a misrepresentation to the Court.
However, as this case proceeds, the Undersigned warns if a party violates Federal Rule of Civil
Procedure 11(b), that party may be sanctioned under Federal Rule of Civil Procedure 11(c). Federal
Rule of Civil Procedure 11(b) requires an attorney or pro se litigant filing a document to certify “it is
not being presented for any improper purpose.” Fed. R. Civ. P. 11(b).

                                                   7
    Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 8 of 10




between words and actions in this context. “Words may be evidence of a man's

intention” but “they cannot supply the fact of his domicile there.” Stine, 213 F.2d at

448. In such circumstances, the actual fact of residence and a real intention of

remaining there, as disclosed by his entire course of conduct, are the controlling

factors in ascertaining his domicile. Id. Addressing the evidence from online and

outside sources, Plaintiff testified at the hearing and in his pleadings he has used

fake addresses for privacy. (Hrg. At 2:38:15–2:40:29; Dkt. No. 52 at 5). Accordingly,

to the determination of Plaintiff’s domicile, the Undersigned focuses on the “objective

facts.” Coury, 85 F.3d at 251.

      In examining Plaintiff’s course of conduct, the evidence indicates he resides in

a storage shed located on the 1520 Sherman Street property, (Dkt. No. 22-2 at 2), is

registered to vote in Texas, (Dkt. No. 54-7), has a Texas driver’s license, (Dkt. No. 54-

5), and owns a car registered in Texas, (Dkt. No. 54-6). Plaintiff’s Laredo Trade Tag

is registered to the 1520 Sherman Street property. (Dkt. No. 54-9). Plaintiff states in

an affidavit that he receives his mail at 1520 Sherman Street and that his debit cards

are registered to that address. (Dkt. No. 22-2 at 2). Plaintiff also provided an affidavit

from Gamez. (Dkt. No. 22-1). In the affidavit Gamez states “I have allowed [Plaintiff]

to reside in a building on the property of 1520 Sherman Street, Laredo, Texas[,] for

the purpose of maintaining his belongings, having a place to sleep, prepare meals and

receive his mail for the better part of 18 plus months.” (Id. at 2). Gamez provided the

Court seven (7) photographs of 1520 Sherman Street, including Plaintiff’s room. (Dkt.

No. 55).



                                            8
    Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 9 of 10




(Id. at 5). Additionally, Plaintiff testified since relocating to Laredo in November 2021

from Cocoa, Florida, it is his intent to remain in Laredo indefinitely. (Hrg. at 2:27:00–

2:27:50). Plaintiff testified he previously lived in Laredo from 2005 to 2007 and has

friends and people he considers to be family in the community. (Id.). This testimony

is credible in light of the objective evidence that Plaintiff resides in, is registered to

vote in and has a driver’s license from, Texas.

      In light of the above case law and facts, the Undersigned finds by a

preponderance of the evidence that Plaintiff was domiciled in Texas when this

lawsuit was filed on October 3, 2023.

                              IV. RECOMMENDATION

      Based on the evidence and testimony put forth in the hearing, for diversity

purposes the Undersigned RECOMMENDS the Court find Plaintiff to be domiciled

in Texas.
                                            9
   Case 5:23-cv-00109 Document 56 Filed on 04/08/24 in TXSD Page 10 of 10




                              NOTICE TO PARTIES

      The Clerk shall file this Report and Recommendation and transmit a copy to

each party or counsel. Within FOURTEEN (14) DAYS after being served with a

copy of the Report and Recommendation, a party may file with the Clerk and serve

on the United States Magistrate Judge and all parties, written objections, pursuant

to Fed. R. Civ. P. 72(b), 28 U.S.C. § 636(b)(1), General Order No. 2002-13, United

States District Court for the Southern District of Texas.

      A party's failure to file written objections to the proposed findings, conclusions,

and recommendation in a magistrate judge's report and recommendation within

FOURTEEN (14) DAYS after being served with a copy shall bar that party, except

upon grounds of plain error, from attacking on appeal the unobjected-to proposed

factual findings and legal conclusions accepted by the District Court. Douglass v.

United Servs. Auto Ass'n, 79 F.3d 1415 (5th Cir. 1996) (en banc).

      SIGNED on this 8th day of April, 2024.




                                               Christopher dos Santos
                                               United States Magistrate Judge




                                          10
